

Matter of N47 Assoc. LLC v Jemsco Realty LLC (2022 NY Slip Op 03450)





Matter of N47 Assoc. LLC v Jemsco Realty LLC


2022 NY Slip Op 03450


Decided on May 26, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 26, 2022

Before: Manzanet-Daniels, J.P., Kapnick, Shulman, Rodriguez, Pitt, JJ. 


Index No. 15921/20 Appeal No. 16025-16025AM-01493 Case No. 2021-02638, 2021-03862 

[*1]In the Matter of N47 Associates LLC, Petitioner-Respondent,
vJemsco Realty LLC, Respondent-Appellant. 


Gordon &amp; Haffner, LLP, Harrison (Steven Haffner of counsel), for appellant.
Rivkin Radler, LLP, New York (Pia E. Riverso of counsel), for respondent.



Order, Supreme Court, New York County (Carol R. Edmead, J.), entered on or about December 18, 2020, which, to the extent appealed from, authorized petitioner to remove items from the east wall of respondent's building, unanimously affirmed, with costs. Appeal from order, same court and Justice, entered on or about September 21, 2021, which purportedly construed the prior order, unanimously dismissed, without costs, as taken from a nonappealable paper.
In this special proceeding under Real Property Actions and Proceedings Law § 881, Supreme Court properly exercised its discretion to grant petitioner interim access to respondent's property. Access was necessary so that petitioner could, among other things, remove items that extended from respondent's property into petitioner's property and avoid any delay in the construction on petitioner's property pending determination of respondent's encroachment claims.
We have considered respondent's remaining arguments and find them unavailing.
M-01493  — Matter of N47 Assoc.  v Jemsco Realty 
Motion to supplement the record and strike portions of petitioner's brief, denied.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 26, 2022








